Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 1 of 40




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No.:    21-cr-00246-DDD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   JASON MCGUIRE,
2.   TIMOTHY STILLER,
3.   JUSTIN GAY,
4.   WESLEY SCOTT TUCKER,

       Defendants.


                                      INDICTMENT


       The Grand Jury charges that:

                                        COUNT 1

                              (Conspiracy to Restrain Trade)

       1.      Beginning at least as early as 2012 and continuing through at least early

2019, the exact dates being unknown to the Grand Jury, in the State and District of

Colorado and elsewhere, JASON MCGUIRE, TIMOTHY STILLER, JUSTIN GAY, and

WESLEY SCOTT TUCKER (“Defendants”), together with co-conspirators known and

unknown to the Grand Jury, entered into and engaged in a continuing combination and

conspiracy to suppress and eliminate competition by rigging bids and fixing prices and

other price-related terms for broiler chicken products sold in the United States. The

combination and conspiracy engaged in by the Defendants and co-conspirators was a
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 2 of 40




per se unlawful, and thus unreasonable, restraint of interstate trade and commerce in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       2.     The charged combination and conspiracy consisted of a continuing

agreement, understanding, and concert of action among the Defendants and co-

conspirators, the substantial terms of which were to rig bids and to fix, maintain,

stabilize, and raise prices and other price-related terms for broiler chicken products sold

in the United States.

                                  I.   BACKGROUND

       3.     Broiler chickens are chickens raised to provide meat for human

consumption. Several companies (“Suppliers”) produced broiler chicken products in the

United States for sale either directly or indirectly such as through a distributor and a

distribution center (“DC”) to restaurants, grocery retailers, and others.

       4.     Restaurants, grocery retailers, and others who purchased large volumes

of broiler chicken products generally received bids from or negotiated prices and other

price-related terms, including discount levels, with Suppliers directly or, in the case of

some fast-food restaurants, also known as quick-service restaurants (“QSRs”), having

many independent franchisees, through a centralized buying cooperative.

       5.     Some purchasers of broiler chicken products used a “cost-plus” pricing

model for 8-piece bone-in broiler chicken products (alternatively called “8-piece COB”

for 8-piece chicken-on-the-bone) that varied month-to-month or period-to-period

depending on the price of chicken feed and that also provided Suppliers with a per-

pound margin and an adjustment that was effectively an additional per-pound margin. 8-


                                              2
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 3 of 40




piece COB consisted of two breasts, two wings, two thighs, and two drumsticks.

         6.   The price of 8-piece COB often served as a base price for other broiler

chicken products. Dark meat was often priced at a certain number of cents per pound

less than, or “back” from, the price per pound of 8-piece COB. As a result, a smaller

number of cents back translated into a higher price for dark meat compared to a greater

number of cents back. For example, “30 back” was a higher price for dark meat than “31

back.”

         7.   Prices for broiler chicken products were sometimes tied to a market index,

such as the Urner-Barry Index (“UB”), as an alternative. For example, cases of wings

sold in bulk were sometimes priced at the UB per-pound price (“market”) and cases of

pre-counted wings were sometimes priced at the UB per-pound price plus a specified

number of cents per pound (“market plus”).

         8.   Bidding and negotiations usually occurred annually toward the end of the

calendar year and established prices and other price-related terms, including discount

levels, for the following calendar year. In some instances, however, bidding and

negotiation toward the end of the calendar year established prices and other price-

related terms, including discount levels, for multiple calendar years. In yet other

instances, bidding and negotiations occurred throughout the year and sometimes

established prices and other price-related terms, including promotional discounts, for

discrete periods of time.

         9.   Bidding and negotiations often involved weekly volume commitments

between Suppliers and their respective customers. If, in a given week, a Supplier could


                                             3
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 4 of 40




not meet its volume commitment to a customer, the Supplier could often buy broiler

chicken products from another Supplier to cover the shortfall. Alternatively, the Supplier

could “short” the customer by not fulfilling its volume commitment that week.

       10.    Distributors and customers who purchased broiler chicken products from

Suppliers often had lines of credit with the Suppliers. Often a negotiable aspect of a line

of credit was the term, i.e., the number of days for a distributor/customer to pay a

Supplier for broiler chicken products purchased using a line of credit. A line-of-credit

term was related to price. A longer term was generally more favorable to the

distributor/customer, whereas a shorter term was generally more favorable to the

Supplier.

             II.   DEFENDANTS, CO-CONSPIRATORS, AND OTHERS

       At times relevant to this Indictment:

       11.    JASON MCGUIRE was a director and manager at Pilgrim’s Pride

Corporation (“Pilgrim’s”) from approximately September 2012 until approximately May

2015, and a vice president at Pilgrim’s from approximately March 2015 until

approximately May 2016. MCGUIRE left Pilgrim’s in approximately May 2016 and

began working for one of Pilgrim’s competitors in approximately September 2016 as

Sales Director. In approximately July 2017, MCGUIRE joined at Supplier-6 as Director

of Sales.

       12.    TIMOTHY STILLER was a director and manager at Pilgrim’s starting in

approximately March 2010.

       13.    JUSTIN GAY was a sales manager and director at Pilgrim’s starting in


                                               4
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 5 of 40




approximately 2006.

      14.    WESLEY SCOTT TUCKER—who went by “Scott” as his first name— was

a sales manager at Pilgrim’s starting in approximately September 2012.

      15.    Pilgrim’s Pride Corporation (“Pilgrim’s”) was a corporation organized and

existing under the laws of Delaware with its headquarters in Greeley, Colorado.

Pilgrim’s was a Supplier and was engaged in the production and sale of broiler chicken

products in the United States.

      16.    Jayson Penn was an executive vice president at Pilgrim’s starting in

approximately January 2012. Penn became the President and Chief Executive Officer of

Pilgrim’s in approximately March 2019.

      17.    Roger Austin was a vice president at Pilgrim’s starting in approximately

February 2007. Austin was supervised by Penn.

      18.    Jimmie Little was a sales director at Pilgrim’s. Little started with the

company in approximately 2000.

      19.    William Lovette was President and Chief Executive Officer of Pilgrim’s

starting in approximately January 2011 until approximately March 2019. Lovette

supervised Penn.

      20.    Pilgrim’s-Employee-7 was a regional sales manager at Pilgrim’s starting in

approximately 2013.

      21.    Pilgrim’s-Employee-8, Pilgrim’s-Employee-9, and Pilgrim’s-Employee-10

were employees of Pilgrim’s.

      22.    Claxton was a corporation organized and existing under the laws of


                                             5
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 6 of 40




Georgia with its headquarters in Claxton, Georgia. Claxton was a Supplier and was

engaged in the production and sale of broiler chicken products in the United States.

        23.   Mikell Fries was a sales manager at Claxton starting in approximately

2004. In approximately 2012, Fries was appointed to Claxton’s board of directors. In

approximately 2016, Fries became the President of Claxton.

        24.   Scott Brady was a vice president at Pilgrim’s Pride Corporation starting in

approximately 1999, and a vice president at Claxton starting in approximately August

2012. Brady was supervised by Fries.

        25.   Koch Foods (“Koch”) was a corporation headquartered in the State of

Illinois. Koch was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States.

        26.   William Kantola was a sales executive at Koch starting in approximately

October 2010.

        27.   Koch-Employee-1 was an owner of Koch and supervised Kantola.

        28.   Koch-Employee-2 was an executive employee of Koch.

        29.   Koch-Employee-3 was a manager and director of Koch.

        30.   Supplier-3 was a corporation headquartered in the State of Arkansas.

Supplier-3 was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States.

        31.   Timothy Mulrenin was a sales executive at Supplier-3 starting in

approximately 2000, and a sales executive at Supplier-8 starting in approximately July

2018.


                                            6
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 7 of 40




      32.    Brian Roberts was a manager and director at Supplier-3 starting in

approximately 2012, and an employee of Supplier-4 starting in approximately 2016.

      33.    Supplier-3-Employee-1 was an employee of Supplier-3 starting in

approximately January 1988.

      34.    Supplier-3-Employee-2 was a manager and director at Supplier-3 starting

in approximately 2009.

      35.    Supplier-4 was a corporation headquartered in the State of North Carolina.

Supplier-4 was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States.

      36.    Supplier-4-Employee-1 was an employee of Supplier-4.

      37.    Supplier-6 was a corporation headquartered in the State of Arkansas.

Supplier-6 was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States.

      38.    Ric Blake was a director and manager at Supplier-6.

      39.    Supplier-6-Employee-2 was an employee of Supplier-6.

      40.    Supplier-7 was a corporation headquartered in the State of Georgia.

Supplier-7 was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States. Supplier-9 was a Supplier purchased by

Supplier-7 in 2014.

      41.    Supplier-7-Employee-1, Supplier-7-Employee-2, Supplier-7-Employee-3,

and Supplier-7-Employee-4 were employees of Supplier-7.

      42.    Supplier-8 was a corporation headquartered in the State of Maryland.


                                          7
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 8 of 40




Supplier-8 was a Supplier and was engaged in the production and sale of broiler

chicken products in the United States.

        43.   Supplier-8-Employee-1 and Supplier-8-Employee-2 were employees of

Supplier-8.

        44.   QSR-1 was a nationwide restaurant franchise that negotiated with

Suppliers through a centralized buying cooperative, Cooperative-1. Cooperative-1-

Employee-1 was an employee of Cooperative-1 from approximately June 2008 until

approximately May 2014. Cooperative-1-Employee-2 was an employee of Cooperative-

1 from approximately August 2004 until approximately February 2017. Cooperative-1-

Employee-3 was an employee of Cooperative-1 from approximately May 2014 until

approximately December 2014. Cooperative-1-Employee-4 was an employee of

Cooperative-1 in 2014.

        45.   QSR-2 was a nationwide restaurant franchise that negotiated with

Suppliers through a centralized buying cooperative, Cooperative-2. Cooperative-2-

Employee-1 was an employee of Cooperative-2 starting in approximately July 2008.

        46.   QSR-3 was a nationwide restaurant franchise that negotiated directly with

Suppliers. QSR-3-Employee-1 was an employee of QSR-3 starting in approximately

September 2001. QSR-3-Employee-2 was an employee of QSR-3.

        47.   QSR-4 was a nationwide restaurant franchise that negotiated directly with

Suppliers. QSR-4-Employee-1 was an employee of QSR-4 starting in approximately

2011.

        48.   QSR-5 was a nationwide restaurant franchise that negotiated directly with


                                           8
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 9 of 40




Suppliers.

       49.    QSR-6 was a nationwide restaurant franchise headquartered in Golden,

Colorado, that negotiated directly with Suppliers.

       50.    Restaurant-1 was a nationwide restaurant chain that negotiated directly

with Suppliers.

       51.    Grocer-1 was a nationwide grocery-store chain operating under various

brand names in various geographical areas that negotiated directly with Suppliers.

Grocer-1-Brand-1 was a grocery-store brand owned by Grocer-1. Grocer-1-Brand-1

operated multiple stores in the State and District of Colorado.

       52.    Grocer-2 was a nationwide grocery-store chain.

       53.    Distributor-1 was a nationwide food distributor.

       54.    Various corporations and individuals not made defendants in this

Indictment participated as co-conspirators in the offense charged herein and performed

acts and made statements in furtherance of the conspiracy.

       55.    Whenever in this Indictment reference is made to any act, deed or

transaction of any corporation, the allegation means that the corporation engaged in the

act, deed, or transaction by or through its officers, directors, agents, employees, or

other representatives while they were actively engaged in the management, direction,

control or transaction of its business or affairs.

                  III.   MEANS AND METHODS OF THE CONSPIRACY

       56.    It was part of the conspiracy that MCGUIRE, STILLER, GAY, and

TUCKER, together with their co-conspirators known and unknown to the Grand Jury, in


                                               9
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 10 of 40




the State and District of Colorado and elsewhere, participated in a continuing network of

Suppliers and co-conspirators, an understood purpose of which was to suppress and

eliminate competition through rigging bids and fixing prices and price-related terms for

broiler chicken products sold in the United States.

       57.    It was further part of the conspiracy that MCGUIRE, STILLER, GAY, and

TUCKER, together with their co-conspirators, in the State and District of Colorado and

elsewhere, utilized that continuing network:

              a.     to reach agreements and understandings to submit aligned—

though not necessarily identical—bids and to offer aligned—though not necessarily

identical—prices, and price-related terms, including discount levels, for broiler chicken

products sold in the United States;

              b.     to participate in conversations and communications relating to non-

public information such as bids, prices, and price-related terms, including discount

levels, for broiler chicken products sold in the United States, with the shared

understanding that the purpose of the conversations and communications was to rig

bids, and to fix, maintain, stabilize, and raise prices and other price-related terms,

including discount levels, for broiler chicken products sold in the United States; and

              c.     to monitor bids submitted by, and prices and price-related terms,

including discount levels, offered by Suppliers and co-conspirators for broiler chicken

products sold in the United States.

       58.    It was further part of the conspiracy that MCGUIRE, STILLER, GAY, and

TUCKER, together with their co-conspirators, in the State and District of Colorado and


                                             10
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 11 of 40




elsewhere, discussed protecting, and thereafter acted to protect, the purpose and

effectiveness of the conspiracy.

        59.     It was further part of the conspiracy that MCGUIRE, STILLER, GAY, and

TUCKER, together with their co-conspirators, in the State and District of Colorado and

elsewhere, sold and accepted payment for broiler chicken products that are the subject

of the allegations in this Indictment in the United States through until at least

approximately early 2019.

               QSR-1’s Dark Meat, Wings, and 8-Piece COB Supply for 2013

        60.     In approximately the autumn of 2012, Cooperative-1 was negotiating

prices with Suppliers for dark meat, wings, and 8-piece COB supply for calendar year

2013.

        61.     It was further part of the conspiracy that on or about August 31, 2012:

                a.    Pilgrim’s-Employee-10 emailed Penn, Pilgrim’s-Employee-9, and

several other Pilgrim’s employees: “I received a call today from a friendly competitor

telling me it’s all over the market that Pilgrim’s is taking contract pricing up. They

thanked us for taking the lead and told me that contrary to what we might hear

regarding their company, they are following as are others. Courage…..keep it up guys.”

                b.    One of the recipients responded to Pilgrim’s-Employee-10, Penn,

Pilgrim’s-Employee-9, and the other Pilgrim’s employees: “Nice, rising tide and all that

good stuff.”

                c.    Pilgrim’s-Employee-9 responded to Pilgrim’s-Employee-10 only and

asked: “Who would that friendly competitor be?” Pilgrim’s-Employee-10 replied:


                                             11
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 12 of 40




“[Supplier-6]. Big meeting took place this week at their corp office in AK. They don't

want to lose any opportunity to move their pricing up. They are hearing from some of

their customers...you can't do that, and they are saying well we have to. Other

companies are on the bubble as we speak....”

       62.      It was further part of the conspiracy that on or about September 1, 2012,

Penn forwarded Pilgrim’s-Employee-10’s original email to MCGUIRE and said: “FYI. Do

not fwd. not exactly a legal conversation.”

       63.      It was further part of the conspiracy that from on or about October 8, 2012,

through on or about November 28, 2012, relating to the ongoing negotiations with

Cooperative-1 there were numerous:

                a.     Communications such as phone calls, text messages and emails

between or among co-conspirators,

                b.     meetings and other communications between or among co-

conspirators and Cooperative-1, and

                c.     internal Supplier communications.

       64.      It was further part of the conspiracy that on or about November 29, 2012,

the following communications occurred:

      Approx.
        Time           Initiator     Recipient                Communication
       (EST)
    12:32 p.m        Austin        TUCKER           Phone Call: Approx. 7 min.

                                                    Email: “This is crude but does it
                                                    show what we need it to?” and
    2:31 p.m.        TUCKER        Austin
                                                    attaching a spreadsheet containing
                                                    the following table:

                                              12
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 13 of 40




                                                       8 Piece Quotes
                                                         Good Guys        $0.9770
                                                         [Supplier-6]     $0.9632
                                                           Claxton        $0.9620
                                                            Koch          $0.9561
                                                   Email: “You can put [Supplier-9] in
    4:53 p.m.      Austin         TUCKER           at 96.60 Then send to Jayson
                                                   [Penn].”
                                                   Email: Attaching a spreadsheet
                                                   containing the following table:
                                                       8 Piece Quotes
    9:12 p.m.      TUCKER         Penn & Austin          Good Guys        $0.9770
                                                         [Supplier-9]     $0.9660
                                                         [Supplier-6]     $0.9632
                                                           Claxton        $0.9620
                                                            Koch          $0.9561

      65.       It was further part of the conspiracy that on or about November 30, 2012,

Penn emailed Lovette a spreadsheet containing the following chart:

                            8 Piece Quotes
                              Good Guys                $0.9770
                              [Supplier-9]             $0.9660
                              [Supplier-6]             $0.9632
                                Claxton                $0.9620
                                 Koch                  $0.9561

      66.       It was further part of the conspiracy that on or about December 17, 2012,

Supplier-6-Employee-2 signed an agreement on behalf of Supplier-6 that the price of 8-

piece COB would be $.9622/lb. and the price of dark meat would be .30 back in

calendar year 2013.

      67.       It was further part of the conspiracy that on or about December 17, 2012,

Penn, on behalf of Pilgrim’s, and Cooperative-1-Employee-1 signed an agreement that

the price of 8-piece COB would be $.9703/lb. and the price of dark meat would be .30

                                             13
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 14 of 40




back in calendar year 2013.

      68.       It was further part of the conspiracy that on or about December 17, 2012,

Brady, on behalf of Claxton, and Cooperative-1-Employee-1 signed an agreement that

the price of 8-piece COB would be $.9625/lb. and the price of dark meat would be .305

back in calendar year 2013.

      69.       It was further part of the conspiracy that on or about December 17, 2012,

Koch signed an agreement that the price of 8-piece COB would be $.9662/lb. and the

price of dark meat would be .305 back in calendar year 2013.

             QSR-1’s 2013 Request to Supply Reduced-Weight Product

      70.       On or about March 5, 2013, Cooperative-1-Employee-1 asked various

Suppliers and co-conspirators to provide a quote to supply QSR-1 with a reduced-

weight 8-piece COB product.

      71.       It was further part of the conspiracy that on or about March 8, 2013,

relating to QSR-1 reduced-weight 8-piece COB product, there were multiple

communications such as phone calls and text messages between or among co-

conspirators.

                              QSR-4’s 2013 Freezing Charge

      72.       In approximately 2013, QSR-4 began requiring its distributors to maintain

inventories of frozen 8-piece COB and dark meat to satisfy demand in the event of a

supply disruption.

      73.       It was further part of the conspiracy that between on or about May 31,

2013, and on or about June 4, 2013, relating to QSR-4’s 2013 freezing charge, there


                                             14
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 15 of 40




were numerous:

              a.     communications including phone calls between or among co-

conspirators, communications between or among co-conspirators and QSR-4, and

              b.     internal Supplier communications.

                          QSR-1’s Dark Meat Supply for 2014

       74.    In approximately autumn of 2013, Cooperative-1 was negotiating with

Suppliers for dark meat supply for calendar year 2014.

       75.    It was further part of the conspiracy that between on or about October

2013, and the end of 2013, relating to the ongoing negotiations with Cooperative-1 there

were numerous:

              a.     communications including phone calls and text messages between

or among co-conspirators,

              b.     communications between or among co-conspirators and

Cooperative-1, and

              c.     internal Supplier communications, relating to the ongoing

negotiations with Cooperative-1.

                      QSR-4’s Quality Assurance Costs for 2014

       76.    In approximately 2013, QSR-4 implemented new quality assurance (“QA”)

requirements to take effect the following year that required Suppliers to take additional

measures to ensure the broiler chicken products met enhanced standards.

       77.    It was further part of the conspiracy that between on or about December

20, 2013, and on or about January 26, 2014, relating to QSR-4’s quality assurance


                                            15
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 16 of 40




costs for 2014, there were numerous:

                  a.     communications such as phone calls and emails between or among

co-conspirators,

                  b.     communications between or among co-conspirators and QSR-4,

and

                  c.     internal Supplier communications.

          QSR-5’s 2014 Conversion to Antibiotic-Free Broiler Chicken Meat

        78.       On or about February 11, 2014, QSR-5 announced plans to serve

antibiotic-free (“ABF”) broiler chicken meat at all of its restaurants within the following

five years.

        79.       It was further part of the conspiracy that on or about April 1, 2014:

                  a.     The following phone calls occurred:

       Approx. Time (EDT)         Call Initiator   Call Recipient   Approx. Duration (min.)
      9:14 a.m.                  GAY               Brady                      6
      9:39 a.m.                  GAY               Brady                      2
                                                   Supplier-8-
      9:51 a.m.                  Brady                                        21
                                                   Employee-1
      10:18 a.m.                 Brady             GAY                        12
                                                   Supplier-8-
      10:51 a.m.                 Brady                                        21
                                                   Employee-1

                  b.     At approximately 11:33 a.m. (EDT), Supplier-8-Employee-1 emailed

Supplier-8-Employee-2: “I also found out that Pilgrim is going to upcharge approx.

$.3124/lb on the ABF product. Claxton will be around the same cost.” Supplier-8-

Employee-2 responded: “Great info.”

        80.       It was further part of the conspiracy that on or about April 18, 2014:

                  a.     At approximately 9:38 a.m. (EDT), Mulrenin called Brady. The
                                                   16
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 17 of 40




duration of the call was approximately 13 minutes.

                b.      The following text messages were sent:

    Approx. Time (EDT)          Sender    Recipient                   Content
                                                      “I talked to Tim [Mulrenin] today at
                                                      [Supplier-3] and for ABF they are
                                                      at .02 per lb live weight. He said
    12:02 p.m.                 Brady      Fries       they are supposed to give a
                                                      number to [QSR-5] today. I told
                                                      him we were .31 to .32 per lb on
                                                      finished product.”
                                                      “Did he say what there finished
    1:37 p.m.                  Fries      Brady
                                                      increase would be?”
                                                      “Work in progress. I told him what
    1:40 p.m.                  Brady      Fries       we were doing, [Supplier-8] and
                                                      pilgrims”


                      QSR-5’s Broiler Chicken Products Supply for 2015

      81.       It was further part of the conspiracy that on or about May 9, 2014—in

anticipation of negotiations with QSR-5 for calendar year 2015—GAY emailed Lovette

and said: “I think the players in the arena are in agreement that small chickens have to

bring a premium as does ensured supply.”

                82.     It was further part of the conspiracy that on or about July 1 and July

2, 2014, the following communications occurred:




                                               17
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 18 of 40




                                          July 1, 2014
      Approx.
                      Initiator    Recipient                 Communication
    Time (EDT)
    8:57 a.m.       GAY           Brady          Phone Call: Approx. 2 min.
    11:33 a.m.      Brady         GAY            Phone Call: Approx. 4 min.
                                          July 2, 2014
      Approx.
                      Initiator    Recipient                 Communication
    Time (EDT)
                                                 “Justin [GAY] said they are reviewing
                                                 their [QSR-5] grain based model now
    11:55 a.m.      Brady         Fries
                                                 for 2015. I will check with [Supplier-8]
                                                 and [Supplier-3].”
                                  Supplier-8-    Phone Call: Approx. 2 min.
    11:59 a.m.      Brady
                                  Employee-1
                                                 “Did he elude to going up or did they
    12:00 p.m.      Fries         Brady
                                                 seam satisfied with where it was”
    12:01 p.m.      Brady         GAY            Phone Call: Approx. 2 min.
                                                 “He said they actually feel pretty good
    12:06 p.m.      Brady         Fries          where there are at and he will call me
                                                 later to discuss more in detail.”
    1:31 p.m.       GAY           Brady          Phone Call: Approx. 1 min.
    1:47 p.m.       Brady         GAY            Phone Call: Approx. 2 min.
    2:00 p.m.       Brady         GAY            Phone Call: Approx. 1 min.
    2:19 p.m.       GAY           Brady          Phone Call: Approx. 1 min.
    2:30 p.m.       Brady         GAY            Phone Call: Approx. 6 min.
                                                 “I talked to justin [GAY] and they are
    6:19 p.m.       Brady         Fries          going to hold with what they currently
                                                 have.”

                            QSR-1’s 8-Piece COB Supply for 2015

      83.       Beginning approximately in the summer of 2014, Cooperative-1 was

negotiating with Suppliers for 8-piece COB prices to take effect in approximately 2015.

One of the price terms negotiated was each Supplier’s increased margin for 8-piece

COB above their respective margins for calendar year 2014.

      84.       The Suppliers’ prices for 8-piece COB sold directly or indirectly to QSR-1

franchisees in calendar year 2014 included the following margins:


                                                18
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 19 of 40




                              Supplier            CY 2014 Margin
                      Pilgrim’s                     $.1175/lb.
                      Claxton                       $.0673/lb.
                      Supplier-3                    $.0750/lb.
                      Supplier-4                    $.1100/lb.
                      Koch                          $.0900/lb.
                      Supplier-6                    $.0967/lb.
                      Supplier-7                    $.0900/lb.

       85.    There were multiple rounds of negotiations between Cooperative-1 and

Suppliers.

       Round One of Negotiations

       86.    In or around August 2014, Cooperative-1-Employee-3 instructed Suppliers

to submit a proposed cost-plus pricing model by on or about August 19, 2014.

       87.    It was further part of the conspiracy that on or about August 1, 2014,

MCGUIRE, Austin, and another Pilgrim’s employee had a pre-negotiation meeting with

employees of Cooperative-1.

       88.    It was further part of the conspiracy that on or about August 7, 2014,

MCGUIRE emailed Penn and said: “[W]e are going to change the small bird industry

this upcoming year no doubt. I told [Pilgrim’s-Employee-8] after the [QSR-1] meeting

last week that we just need our competition to get out of the way so we can get some

things done, be better for us and them in the end.” Penn responded to MCGUIRE and

said: “In 2013 I had a few owners of small bird companies thank us via me for getting

our act together. I guess it will happen again...good work. Forward...”

       89.    It was further part of the conspiracy that on or about August 11, 2014, the

following communications occurred:



                                            19
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 20 of 40




     Approx.
       Time           Initiator       Recipient              Communication
      (EDT)
   3:52 p.m.      Roberts           Brady           Phone Call: Approx. 20 min.

                                                 Email: Supplier-3’s proposed
                                    Cooperative-
   5:22 p.m.      Roberts                        cost-plus pricing model sent to
                                    1-Employee-3
                                                 Cooperative-1-Employee-3

                  Cooperative-                      Email: “You trying to get me fired
   6:13 p.m.                        Roberts
                  1-Employee-4                      before I even move here??”

       90.     It was further part of the conspiracy that on or about August 12, 2014,

Pilgrim’s-Employee-7—who was in the midst of negotiating calendar year 2015 prices

for broiler chicken products with Restaurant-1—emailed MCGUIRE to express

frustration with the state of the negotiations. MCGUIRE responded and said: “Don't

worry we are working on plans to put you in an extremely favorable negotiating position

by [the end of the year].”

       91.     It was further part of the conspiracy that on or about August 14, 2014,

Mulrenin promised to call Cooperative-1-Employee-4 about Supplier-3’s recently

submitted cost model on August 15, 2014.

       92.     It was further part of the conspiracy that on or about August 15, 2014, the

following phone calls occurred:




                                              20
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 21 of 40




     Approx. Time (EDT)     Call Initiator    Call Recipient   Approx. Duration (min.)
    11:34 a.m.              Mulrenin          Roberts                    0.5
    11:35 a.m.              Roberts           Brady                       4
    11:42 a.m.              Roberts           Mulrenin                    9
    3:27 p.m.               Roberts           Mulrenin                   22
    3:50 p.m.               Roberts           Penn                       0.5
    3:52 p.m.               Penn              Roberts                    16
    4:11 p.m.               Mulrenin          Roberts                     2

      93.    It was further part of the conspiracy that on or about August 18, 2014:

             a.     The following phone calls occurred:

    Approx. Time (EDT)     Call Initiator    Call Recipient    Approx. Duration (min.)
    9:41 a.m.              Little            Kantola                     7
    10:34 a.m.             Little            Austin                      6
    12:04 p.m.             Austin            Brady                       24
    1:25 p.m.              Little            Austin                      11
    1:52 p.m.              Austin            Supplier-6                  2
    2:03 p.m.              Penn              Austin                      6
                                             Supplier-3-
    2:41 p.m.              Little                                        11
                                             Employee-1
    2:58 p.m.              GAY               Brady                       14
    3:21 p.m.              Austin            Little                      17
    5:56 p.m.              MCGUIRE           Austin                      2

             b.     At approximately 6:01 p.m. (EDT), MCGUIRE emailed a

spreadsheet to Penn containing the following chart:




                                              21
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 22 of 40




                                                   Current M New Marg
                               Koch                  0.09       0.22
                            [Supplier-4]             0.11       0.22
                              Claxton               0.0675      0.22
                            [Supplier-6]                     .15-.18 inc
                            [Supplier-7]              0.1       0.23

             c.         At approximately 6:46 p.m. (EDT), MCGUIRE emailed Penn:

                   i.         MCGUIRE said “Roger [Austin] did some checking around

             today and I included the below regarding the range of the total increases

             (margin and costs) folks are going in with,” and then reported the numbers

             to Penn: Claxton at .14-.16/lb., Supplier-4 at .13-.15/lb., Koch at .14-

             .16/lb., Supplier-6 at .15-.17/lb., and Supplier-7 at .14-.16/lb.

                  ii.         MCGUIRE also said “Considering the numbers above and

             the fact that we wanted to be the leader this would put us in at .1616/lb

             increase (.06 in cost and .10 in margin) which would equate to about

             $400k in additional revenue on equal volume from this year.”

             d.         Penn responded to MCGUIRE email saying, “Will review with Bill

[Lovette] in am. Will advise.” and asking, “2.5 M lbs X. 16 =$400k per week is the

math?”

      94.    It was further part of the conspiracy that on or about August 19, 2014:

             a.         At approximately 11:55 a.m. (EDT), Kantola submitted Koch’s

proposed cost-plus pricing model to Cooperative-1.

             b.         The following phone calls occurred:




                                              22
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 23 of 40




    Approx. Time (EDT)          Call Initiator   Call Recipient     Approx. Duration (min.)
    2:18 p.m.                   Austin           Brady                         4
    2:33 p.m.                   Brady            Kantola                      0.2
    2:34 p.m.                   Brady            Kantola                      0.5
    3:22 p.m.                   Kantola          Brady                        20

               c.      At approximately 4:48 p.m. (EDT), Brady submitted Claxton’s

proposed cost-plus pricing model to Cooperative-1.

      95.      It was further part of the conspiracy that by on or about August 20, 2014,

Suppliers submitted proposed cost-plus pricing models to Cooperative-1 with the

following proposed margins and effective margins:

                     Supplier             CY 2014 Margin          Proposed Margin
              Pilgrim’s                     $.1175/lb.                $.2175/lb.
              Claxton                       $.0673/lb.                $.2200/lb.
              Supplier-3                    $.0750/lb.                $.1600/lb.
              Supplier-4                    $.1100/lb.                    --
              Koch                          $.0900/lb.                $.2200/lb.
              Supplier-6                    $.0967/lb.            $.2070-$.2174/lb.
              Supplier-7                    $.0900/lb.                $.2300/lb.

      96.      It was further part of the conspiracy that on or about August 20, 2014, the

following email exchange occurred:

            Email Initiator     Email Recipient                    Content
                                                       “Any word from them on our
        MCGUIRE               Austin
                                                       proposal?”

                                                       “I heard they made a couple of
        Austin                MCGUIRE
                                                       calls and were surprised.”

                                                       “Surprised like how much higher
        MCGUIRE               Austin
                                                       everyone else was?”

        Austin                MCGUIRE                  “Yes”


                                                  23
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 24 of 40




       Round Two of Negotiations

       97.       It was further part of the conspiracy that on or about August 22, 2014,

Roberts emailed Supplier-3’s proposed cost-plus pricing model to Cooperative-1-

Employee-4 with a margin of $.1900/lb. Cooperative-1-Employee-4 responded to

Roberts’ email saying: “Looks like to me you want about 15.5 cents increase in costs

and margin?”

       98.       It was further part of the conspiracy that on or about August 25, 2014, the

following phone calls occurred:

    Approx. Time (EDT)         Call Initiator   Call Recipient   Approx. Duration (min.)
    9:21 a.m.                 Little            Kantola                    20

    11:04 a.m.                Little            Blake                      11
                                                Supplier-3-
    11:15 a.m.                Blake                                       0.5
                                                Employee-1
    11:30 a.m.                Brady             Kantola                    17
                              Supplier-3-
    1:05 p.m.                                   Blake                      6
                              Employee-1

       99.       It was further part of the conspiracy that on or about August 26, 2014, the

following occurred:

                 a.    At approximately 9:31 a.m. (EDT), Austin emailed Penn and

explained that Cooperative-1-Employee-2 had asked Pilgrim’s to reduce its proposed

price increase by approximately one half. Austin also said he planned to call

Cooperative-1 to hold firm on the increase. Penn responded that he agreed with

Austin’s plan.

                 b.    At approximately 9:55 a.m. (EDT), Kantola called Brady for


                                                 24
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 25 of 40




approximately 6 minutes.

             c.     At approximately 10:30 a.m. (EDT), Kantola was scheduled to

participate in a meeting between Koch and Cooperative-1.

             d.     The following phone calls occurred:

    Approx. Time (EDT)        Call Initiator       Call Recipient Approx. Duration (min.)
    1:31 p.m.                Cooperative-1       Austin                     17
    1:48 p.m.                Austin              Penn                        2
    1:58 p.m.                Lovette             Austin                     15
    2:52 p.m.                Austin              Brady                      14

             e.     At approximately 5:11 p.m. (EDT), Brady texted Fries: “I talked to

roger [Austin] about [QSR-1] and Greeley, [Colorado] told him not to come down on

price. He called [Cooperative-1-Employee-3] today and told him.” At approximately 5:31

p.m. (EDT), Fries responded: “Wow!”

      100.   It was further part of the conspiracy that on or about August 27, 2014, the

following communications occurred:

     Approx. Time
                       Initiator       Recipient               Communication
        (EDT)
                                      Supplier-
                                      7-
    9:46 a.m.        Fries                                Phone Call: Approx. 2 min.
                                      Employee-
                                      2
    10:02 a.m.       Brady            Kantola             Phone Call: Approx. 15 min.

                                                     Text Msg: “Koch is not moving
    10:33 a.m.       Brady            Fries
                                                     either”

                                                     Text Msg: “[Supplier-7-Employee-2]
                                                     is [meeting with Cooperative-1] at
    10:34 a.m.       Fries            Brady
                                                     11. They are agreeing to anything
                                                     today, just listening.”

                                                25
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 26 of 40




      101.   It was further part of the conspiracy that on or about August 28, 2014:

             a.     the following phone calls occurred:

    Approx. Time (EDT)        Call Initiator    Call Recipient   Approx. Duration (min.)
    9:03 a.m.                 Little            Kantola                    8
                                                Supplier-3-
    10:24 a.m.                Blake                                       0.25
                                                Employee-1
    10:24 a.m.                Blake             Austin                     16
                              Supplier-3-
    10:53 a.m.                                  Blake                      4
                              Employee-1
    2:40 p.m.                 Kantola           Austin                     30

             b.     TUCKER emailed another Pilgrim’s employee and said: “Everybody

will be paying through the nose. [QSR-1] will be paying close to $0.30 [more per pound]

between price increase and case weight increase.” The employee responded: “Good.

Get it while we can!!” TUCKER replied: “Once [QSR-1] is inked, we’ll be hitting these

others starting next week.”

      102.   It was further part of the conspiracy that on or about August 29, 2014, the

following phone calls occurred:

    Approx. Time (EDT)         Call Initiator     Call Recipient Approx. Duration (min.)
    9:50 a.m.                 Supplier-7          Penn                      19
                                                  Supplier-7-
    10:38 a.m.                Fries                                         19
                                                  Employee-1
    11:31 a.m.                Brady               Kantola                      9

      103.   It was further part of the conspiracy that on a piece of paper with a

handwritten notation “8-29-14” Supplier-7-Employee-1 wrote:

             a.     “Talked to [Supplier-4-Employee-1]. They are up .19 & holding.”


                                                 26
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 27 of 40




               b.    “[Supplier-3] 1.0976 per [Supplier-7-Employee-4]”

               c.    “Talked to Jason Penn [Penn] +8 cost +11 margin”

               d.    “Claxton 1.1099 up 18.35”

        104.   On or about August 29, 2014, Cooperative-1-Employee-3 sent an email to

Suppliers requesting final pricing by on or about September 2, 2014, or September 3,

2014.

        105.   On or about September 3, 2014, Cooperative-1-Employee-2 sent Roberts

a telephonic-meeting invitation for later that day at 1:30 p.m. (EDT). The invitation’s

subject line was “COB [Supplier-3]” and included an “Agenda” with 5 items:

               a.    “[Supplier-3] wants a ridiculous price for COB”

               b.    “[Cooperative-1] says NO”

               c.    “[Cooperative-1] shamefully tells [Supplier-3] that we have bought

poultry at ridiculous price from others”

               d.    “[Supplier-3] informs [Cooperative-1] – Really, YOU ARE

SCREWED”

               e.    “GO from there.”

        106.   It was further part of the conspiracy that on or about September 3, 2014:

               a.    The following phone calls occurred:

     Approx. Time (EDT)      Call Initiator   Call Recipient   Approx. Duration (min.)
                                              Cooperative-
    9:38 a.m.               Brady                                         2
                                              1-Employee-3
    9:41 a.m.               Brady             Kantola                     1
    9:42 a.m.               Brady             Austin                      16
    10:00 a.m.              Brady             Kantola                     1

                                              27
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 28 of 40




     Approx. Time (EDT)      Call Initiator   Call Recipient   Approx. Duration (min.)
    10:02 a.m.              Kantola           Brady                       11
    10:17 a.m.              Brady             Fries                        1
    10:22 a.m.              Fries             Brady                        7
                                              Cooperative-
    11:10 a.m.              Brady                                          2
                                              1-Employee-3
                            Cooperative-
    11:24 a.m.                                Brady                        5
                            1
    11:37 a.m.              Brady             Mulrenin                     1
    11:45 a.m.              Brady             Mulrenin                     2
    1:15 p.m.               Brady             Mulrenin                    17
    1:31 p.m.               Brady             Austin                      19
    2:01 p.m.               Blake             Austin                       8
    2:03 p.m.               Brady             Kantola                      7
    2:10 p.m.               Brady             Fries                       20
                                              Cooperative-
    3:39 p.m.               Brady                                         15
                                              1-Employee-3
    4:24 p.m.               Austin            Brady                        8
    4:54 p.m.               Brady             Kantola                      4

              b.     At approximately 5:15 p.m. (EDT), Brady texted Fries: “Told

[Cooperative-1-Employee-3] we would go down .02 he said someone moved down .04 it

has to be [Supplier-6] or he is bluffing. Roger [Austin] and bill [Kantola] are not moving.”

       107.   It was further part of the conspiracy that on or about September 19, 2014,

STILLER told another Pilgrim’s employee: “Got [QSR-1] and [QSR-6]. Rest still to come.

Everybody is getting that price increase.”

       108.   It was further part of the conspiracy that by on or about December 24,

2014, Suppliers had signed cost-plus pricing agreements for calendar year 2015 with



                                              28
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 29 of 40




Cooperative-1 with the following margins and effective margins:

             Supplier          CY 2014      Proposed Margin       CY 2015 Margin
                                Margin
      Pilgrim’s                $.1175/lb.       $.2175/lb.           $.2175/lb.
      Claxton                  $.0673/lb.       $.2200/lb.           $.1940/lb.
      Supplier-3               $.0750/lb.       $.1600/lb.           $.1931/lb.
      Supplier-4               $.1100/lb.           --               $.2161/lb.
      Koch                     $.0900/lb.       $.2200/lb.           $.2200/lb.
      Supplier-6               $.0967/lb.   $.2070-$.2174/lb.        $.1798/lb.
      Supplier-7               $.0900/lb.       $.2300/lb.           $.2300/lb.

      109.   It was further part of the conspiracy that in calendar year 2015, including

as late as approximately December 26, 2015, Pilgrim’s sold and accepted payment for

8-piece COB through a distributor to QSR-1 franchisees in the United States at a

margin of $.2175.

                        QSR-3’s 8-Piece COB Supply for 2015

      110.   In approximately the autumn of 2014, QSR-3 was negotiating with

Suppliers for its 2015 8-piece COB pricing. On or about September 12, 2014, QSR-3-

Employee-2 solicited bids from Suppliers via email for “[QSR-3’s] 2015 Fresh Chicken

Program.” In the solicitation, QSR-3-Employee-2 included a memo expressing QSR-3’s

expectation that broiler chicken prices for calendar year 2015 would be lower than

broiler chicken prices for calendar year 2014: “Thanks to an even better grain harvest

again this year, the costs to grow a pound of chicken will be at its lowest cost in many

years. The Poultry industry looks to expand more of their output, which makes 2015 a

profitable year for us all.” TUCKER forwarded QSR-3-Employee-2’s email to GAY and

said: “Check out the memo.” GAY responded and said: “You better give them a low

price….after all, due to record grain, cost will be low……wow.” TUCKER replied and


                                            29
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 30 of 40




said: “They are morons.”

      111.   It was further part of the conspiracy that on or about October 8, 2014, the

following email exchange occurred between STILLER and TUCKER:

   STILLER                          “Anything from your buddies at [QSR-3]?”
   TUCKER                           “Not a peep. I talked to [Supplier-7] today and
                                    they've not heard anything either.”
   STILLER                          “Interesting…was their pricing similar?”
   TUCKER                           “Very. Others were higher.”

      112.   It was further part of the conspiracy that on or about October 17, 2014, the

following text message exchange occurred between Penn and STILLER:

   Penn                             “Who is negotiating with [QSR-3]?”
   STILLER                          “Scott [TUCKER] and Roger [Austin]”
   Penn                             “Ok. Thanks”
   STILLER                          “We know [Supplier-7], their biggest supplier is
                                    0.02 higher than us and they are not going to
                                    negotiate.”
   Penn                             “Good deal. Last time they did cave a cent or
                                    two with [QSR-1]”
   STILLER                          “They are listening to my direction”
   Penn                             “Who is they?”
   Penn                             “If they is illegal don’t tell me”
   STILLER                          “Was referring to roger [Austin] listening. Sorry,
                                    thought you were referring to roger [Austin]
                                    caving. Got you on [Supplier-7] caving on [QSR-
                                    1]. [Supplier-7] might cave but I wouldn’t think
                                    for our volume and their current.”
   Penn                             “[Supplier-3] does the west. Hearing rumors out
                                    of them?”
   STILLER                          “Buyer said we were .07 high so that must be
                                    [Supplier-3’s] price…”
   Penn                             “They are morons”
   STILLER                          “.07 back is in line with where we have priced
                                    everybody else but they did not add anything for
                                    the cost of doing business with [QSR-3] like us
                                    and [Supplier-7] did”
   Penn                             “[Supplier-7] is a solid competitor.”


                                           30
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 31 of 40




       113.    It was further part of the conspiracy that on or about November 7, 2014,

STILLER told Penn: “[QSR-3] just called back...came up on price. Would net

somewhere around 1.00 and we went in at 1.04/1.08.”

       114.    It was further part of the conspiracy that on or about November 9, 2014,

Penn told Lovette: “I raised [QSR-3] 15c per lb” and “[QSR-3-Employee-1] and his crew

will pay market price plus the special A-Hole Premium.”

       115.    It was further part of the conspiracy that on or about November 10, 2014

at approximately 10:49 a.m. (EST), STILLER emailed TUCKER and Austin: “I do not

really want to get into a pricing war with [Supplier-7] over those two DCs.”

              Protecting the Purpose and Effectiveness of the Conspiracy

       116.    It was further part of the conspiracy that on or about November 24, 2014,

after Supplier-3 asked to purchase broiler chicken products from Pilgrim’s to cover a

shortfall to Grocer-1-Brand-1 for approximately $.05/lb. more than the price Pilgrim’s

had negotiated with Grocer-1, Penn and Lovette, along with other co-conspirators,

decided not to cover Supplier-3’s shortage.

                      QSR-2’s 2015 Bone-In Promotional Discount

       117.    It was QSR-2’s practice to periodically offer promotional pricing to its

customers on certain broiler chicken products for limited periods of time, often for a

particular month such as September.

       118.    On or about March 25, 2015, Cooperative-2-Employee-1 asked Suppliers

if QSR-2 could get “some type of discount” for a promotion in approximately September

2015 “[d]ue to the increases we incurred this year.”


                                             31
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 32 of 40




       119.   It was further part of the conspiracy that on or about March 26, 2015:

              a.      The following phone calls occurred:

     Approx. Time (EDT)        Call Initiator    Call Recipient Approx. Duration (min.)
                              Supplier-3-
    1:41 p.m.                                    Brady                     2
                              Employee-1
                              Supplier-3-
    1:43 p.m.                                    Blake                    0.5
                              Employee-1
                              Supplier-3-
    1:45 p.m.                                    TUCKER                   0.5
                              Employee-1

              b.      At approximately 8:22 p.m. (EDT), Supplier-3-Employee-1

forwarded Cooperative-2-Employee-1’s email to Supplier-3-Employee-2, saying: “I have

talked to a couple company’s and they are thinking .02lb for September” and “Only bad

thing is everyone else does it, it will be hard not to do it.”

       120.   It was further part of the conspiracy that on or about March 27, 2015:

              a.      At approximately 10:30 a.m. (EDT), Supplier-3-Employee-2 told

Supplier-3-Employee-1: “We discussed this morning, and we agree to offer the $0.02/lb.

for the month of September.”

              b.      At approximately 10:40 a.m. (EDT), Supplier-3-Employee-1 sent a

text message to Brady.

              c.      At approximately 10:42 a.m. (EDT), Blake called Supplier-3-

Employee-1. The duration of the call was approximately 3 minutes and 15 seconds.

       121.   On or about March 27, 2015, Cooperative-2-Employee-1 told GAY:

“[Supplier-3], [Supplier-6], [Supplier-4] and Claxton all $.02[.] I’m waiting on you[,] Koch

and [Supplier-7].”

       122.   It was further part of the conspiracy that on or about March 31, 2015:


                                                32
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 33 of 40




              a.     The following phone calls occurred:

     Approx. Time (EDT)       Call Initiator    Call Recipient Approx. Duration (min.)
    8:58 a.m.                Kantola            Blake                          0
    9:00 a.m.                Kantola            Little                         8
    9:09 a.m.                Kantola            Brady                          1
    9:45 a.m.                Austin             Kantola                        9
    11:33 a.m.               Brady              Kantola                        7
    12:11 p.m.               Blake              Kantola                        6

              b.     At approximately 5:27 p.m. (EDT), STILLER told Penn: “[QSR-2] is

looking to get a $0.02/lb discount from all suppliers for a September promotion.

[Supplier-3], Koch, [Supplier-4], [Supplier-7], [Supplier-6], and Claxton have already

agreed to the discount.”

       123.   It was further part of the conspiracy that on or about April 1, 2015:

              a.     At approximately 12:22 p.m. (EDT), Kantola emailed Cooperative-

2-Employee-1 and said Koch would give a $.02/lb. discount.

              b.     Penn approved providing QSR-2 with a $.02/lb. discount.

                           Distributor-1’s Line-of-Credit Term

       124.   In approximately 2016, Distributor-1 contacted Pilgrim’s and Koch

individually to negotiate longer terms for their respective lines of credit.

       125.   On or about May 1, 2016, there was an email exchange between Koch-

Employee-1 and Lovette relating to Distributor-1’s line-of-credit term.

                      QSR-1’s Broiler Chicken Products for 2018

       126.   In or around January 2017, Cooperative-1 was negotiating with Suppliers


                                               33
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 34 of 40




for 2018 broiler chicken products.

        127.   It was further part of the conspiracy that on or about Monday, January 16,

2017, between approximately 2:40 p.m. (EST) and approximately 4:51 p.m. (EST),

there were at least 5 phone calls between Brady and Austin. The cumulative duration of

the calls was approximately 15 minutes.

        128.   It was further part of the conspiracy that on or about Tuesday, January 17,

2017:

               a.    At approximately 10:11 a.m. (EST), Austin called Brady. The

duration of the call was approximately 2 minutes.

               b.    At approximately 12:54 p.m. (EST), Austin told TUCKER, “Claxton

meets with [Cooperative-1] in Thursday and i will get a blow by blow Friday morning.

Koch meets with [Cooperative-1] in Friday.”

        129.   It was further part of the conspiracy that on or about Wednesday, January

18, 2017, at approximately 2:45 p.m. (EST), Austin called Brady. The duration of the call

was approximately 1 minute.

        130.   It was further part of the conspiracy that on or about Thursday, January

19, 2017, Claxton met with Cooperative-1.

        131.   It was further part of the conspiracy that on or about Friday, January 20,

2017, at approximately 3:12 p.m. (EST), Austin called Brady. The duration of the call

was approximately 7 minutes.

        132.   It was further part of the conspiracy that on or about January 27, 2017,

Pilgrim’s met with Cooperative-1.


                                             34
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 35 of 40




      133.    It was further part of the conspiracy that on or about February 17, 2017,

the following text message exchange occurred:

    Text Sender      Text Recipient                          Content
                                        “Taking a test but what does [Cooperative-1-
    STILLER         Austin
                                                    Employee-2] mean?”

                                          “I got off the phone with [Cooperative-1-
                                             Employee-4] right before that came.
                                        [Cooperative-1-Employee-4] told me that the
    Austin          STILLER
                                        level for the product they are seeing is $49 a
                                           case. Translated that means 3.75 – 4.0
                                                   cents lower than we bid.”

    STILLER         Austin                                “Fucking joke”

                                             “7 cent reduction…. unreal. guess i better
    STILLER         Austin
                                                  find a new 100MM lb customer”

    Austin          STILLER                              “I don’t disagree”

    STILLER         Austin              “Need you tell industry we are going to hold”

    Austin          STILLER                                  “Will do”

      134.    It was further part of the conspiracy that on or about February 20, 2017,

the following communications occurred:

     Approx. Time
                        Initiator   Recipient                Communication
        (EST)
    9:42 a.m.         Brady         Austin             Phone Call: Approx. 16 min.

                                                     Text Message: “Shall we plan call
                                                    for wednesday am to discuss COB?
    10:06 a.m.        STILLER       Austin
                                                     Give you some time to do your due
                                                                deligence”

    10:58 a.m.        Austin        Kantola            Phone Call: Approx. 0.5 min.

    11:50 a.m.        Kantola       Austin             Phone Call: Approx. 13 min.


                                               35
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 36 of 40




     Approx. Time
                        Initiator   Recipient              Communication
        (EST)
    4:26 p.m.          Blake        Austin           Phone Call: Approx. 13 min.

       135.   It was further part of the conspiracy that on or about February 23, 2017, at

approximately 10:34 a.m. (EST), Austin called Blake. The duration of the call was

approximately 5 minutes.

                   QSR-2’s 8-Piece COB Supply for 2018 and 2019

       136.   In approximately 2017, Cooperative-2 was negotiating 8-piece COB prices

with Suppliers for calendar years 2018 and 2019, and sought to lower the 8-piece COB

prices QSR-2 paid for calendar year 2017.

       137.   On or about August 16, 2017, Cooperative-2-Employee-1 sent an email

blind copying various Suppliers—including at least Supplier-3, Supplier-6, and Supplier-

7—to solicit bids for QSR-2’s 2018 8-piece COB. In the email, Cooperative-2-Employee-

1 told Suppliers: “I am aware of what went on with Brand X and in fact the change took

place during the current agreement year. I would also like you to keep that in mind while

submitting your bid. Instead of a big cut next year I would entertain a two year price

adjustment. Let me see what you can come up with.” Cooperative-2-Employee-1 asked

for price proposals to be submitted by September 5, 2017.

       138.   It was further part of the conspiracy that on or about August 16, 2017,

Supplier-3-Employee-1 forwarded the solicitation to Mulrenin, asking “You get this?”

Mulrenin responded: “Ouch. I did not. Definitely appears he’s under the impression we

all dropped prices more than we did.”

       139.   It was further part of the conspiracy that on or about August 18, 2017,

                                             36
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 37 of 40




Supplier-3-Employee-1 told Mulrenin, “[Cooperative-2-Employee-1] heard as much as

.05lb. I told them that was probably because they were so far out of line now with pricing

they had to do something to get close. I think realistically he is thinking .02-.03.”

       140.     It was further part of the conspiracy that on or about August 22, 2017,

Mulrenin said to Supplier-3-Employee-2: “He’s aware suppliers came down for [QSR-1]

and expecting some movement from us.”

       141.     It was further part of the conspiracy that on or about September 5, 2017:

                a.     The following phone calls occurred:

     Approx. Time (EDT)         Call Initiator    Call Recipient Approx. Duration (min.)
    10:27 a.m.                 GAY                Brady                   11
                               Supplier-3-
    11:32 a.m.                                    Brady                     10
                               Employee-1
    2:30 p.m.                  GAY                Brady                      4

                b.     An employee of Supplier-6 sent Cooperative-2-Employee-1 a

proposal to reduce the 2018 8-piece COB by $.0075/lb. and the 2019 price of 8-piece

COB by $.0150/lb.

                c.     GAY sent Cooperative-2-Employee-1 a proposal to reduce the

2018 price of 8-piece COB by $.01/lb. and the 2019 price of 8-piece COB by $.01/lb.

                d.     Brady sent Cooperative-2-Employee-1 a proposal to reduce the

2018 price of 8-piece COB by $.01/lb.

       142.     It was further part of the conspiracy that on or about September 6, 2017,

the following events occurred:

     Approx.
       Time             Initiator       Recipient              Communication
      (EDT)
   9:07 a.m.         Cooperative-2-    Supplier-3-    Email: “I did not receive your bid?”
                                                 37
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 38 of 40




     Approx.
       Time           Initiator       Recipient             Communication
      (EDT)
                  Employee-1        Employee-1
                  Supplier-3-
   9:37 a.m.                        Blake             Phone Call: Approx. 10 min.
                  Employee-1
                  Supplier-3-
   9:48 a.m.                        Mulrenin           Phone Call: Approx. 0 min.
                  Employee-1
                  Supplier-3-
   9:48 a.m.                        Mulrenin       Text Msg: “U with your customers”
                  Employee-1
                                    Supplier-3-
   11:33 a.m.     Mulrenin                            Text Msg: “Yes. What's up?”
                                    Employee-1
                  Supplier-3-
   11:34 a.m.                       Mulrenin         Text Msg: “[QSR-2] proposal”
                  Employee-1
                  Supplier-3-                        Text Msg: “Got a general idea
   11:34 a.m.                       Mulrenin
                  Employee-1                          what [Supplier-6] is doing”
                                                Text Msg: “Ok. Call [Supplier-3-
                                    Supplier-3-
   11:34 a.m.     Mulrenin                      Employee-2]. I will call you as soon
                                    Employee-1
                                                as I can”
                                                     Text Msg: “Called [Supplier-3-
                                                    Employee-2] and told him what I
                  Supplier-3-                        heard [Supplier-6] was doing &
   11:44 a.m.                       Mulrenin
                  Employee-1                        also told him about [Supplier-7].
                                                    Said would get back with me this
                                                                afternoon”
                                    Supplier-3-
   11:54 a.m.     Mulrenin                                Text Msg: “Thanks!”
                                    Employee-1
                  Cooperative-2-    Supplier-3-
   1:41 p.m.                                           Phone Call: Approx. 5 min.
                  Employee-1        Employee-1
                                                  Text Msg: “Just got some info from
                                                  [QSR-2]. Everyone seems to be
                                                  doing 2 years and spreading it out.
                                                  I was told everyone is coming in at
                  Supplier-3-
   1:49 p.m.                        Mulrenin      2 1/4-2 1/2 over 2 years. All other
                  Employee-1
                                                  billing weights are at least 1 1/2
                                                  less than us except for what I told
                                                  you [Supplier-7] was but they are
                                                  around .0165 less than us.”

      143.     It was further part of the conspiracy that on or about September 7, 2017,

Supplier-3-Employee-1 sent Cooperative-2-Employee-1 an email, copying Mulrenin,

                                            38
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 39 of 40




with a proposal to reduce the 2018 price of 8-piece COB by $.01/lb. and the 2019 price

of 8-piece COB by an additional $.01/lb.

                           IV.   TRADE AND COMMERCE

       144.   During the period covered by this Indictment, the Defendants and their co-

conspirators shipped substantial quantities of broiler chicken products by truck in a

continuous and uninterrupted flow of interstate trade and commerce to companies

located in states outside the place of origin of the shipments.

       145. During the period covered by this Indictment, the business activities of the

Defendants and their co-conspirators in connection with the sale of broiler chicken

products were within the flow of, and substantially affected, interstate trade and

commerce.

       ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.




                                           A TRUE BILL:


                                           Ink signature on file in Clerk’s Office
                                           FOREPERSON




                                             39
Case 1:21-cr-00246-DDD Document 1 Filed 07/28/21 USDC Colorado Page 40 of 40




 s/Richard A. Powers                     James J. Fredericks
 RICHARD A. POWERS                       JAMES J. FREDRICKS
 Acting Assistant Attorney General       Chief, Washington Criminal II Section




                                         s/Yixi (Cecilia Cheng__
 MARVIN N. PRICE JR.                     YIXI (CECILIA) CHENG
 Director of Criminal Enforcement        MICHAEL KOENIG
                                         JILLIAN M. ROGOWSKI
 Antitrust Division                      Trial Attorneys
 U.S. Department of Justice

                                         Antitrust Division
                                         U.S. Department of Justice
                                         Washington Criminal II Section
                                         450 Fifth Street, N.W.
                                         Washington, D.C. 20530
                                         Tel: (202) 705-8342
                                         Yixi.Cheng@usdoj.gov
